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21   as successor-in-interest
     to Decedent Caleb Slay
22
                                UNITED STATES DISTRICT COURT
23
                           FOR THE WESTERN DISTRICT OF MISSOURI
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                                                PG. 1                     Case No.: 6:23-cv-03337-RK
       DECLARATION OF JULIA N. QUESADA IN SUPPORT OF PLAINTIFF’S SUGGESTIONS IN OPPOSITION TO
                                UNITED STATES’ MOTION TO SUBSTITUTE
              Case 6:23-cv-03337-RK Document 32-1 Filed 03/14/24 Page 1 of 4
 1   TINA RICHARDSON, individually and as               CASE NO.: 6:23-cv-03337-RK
     successor-in-interest to Decedent Caleb Slay,      (Honorable District Judge Roseann A.
 2
                                    Plaintiff,          Ketchmark)
 3
            vs.                                         DECLARATION OF JULIA N. QUESADA
 4                                                      IN SUPPORT OF PLAINTIFF’S
     UNITED STATES OF AMERICA;                          SUGGESTIONS IN OPPOSITION TO
 5   ANTHONY GASPERONI, individually and                UNITED STATES’ MOTION TO
     in his official capacity as an agent for the       SUBSTITUTE AS PARTY-DEFENDANT
 6
     United      States     Drug       Enforcement
 7   Administration;        JOHN          STUART,
     individually and in his official capacity as an
 9   agent for the United States Drug
     Enforcement Administration; DOES 1-20,
10   inclusive, individually and in their official
     capacity as agents for the United States Drug
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     Enforcement Administration; CITY OF
12   SPRINGFIELD, a municipal entity; C.
     NUCCIO, individually and in his official
13   capacity as sergeant for the Springfield
     Police Department; and DOES 21-40,
14   inclusive, individually and in their official
15   capacity as police officers for the Springfield
     Police Department,
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                                    Defendants.
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19   I, Julia N. Quesada, declare:

20          1.       I am an attorney who is licensed to practice law in California and admitted to

21   practice before this Court. I represent the Plaintiff in the above captioned matter and I have

22   personal knowledge of the following facts, and, if called as a witness, I could and would

23   competently testify thereto.

24          2.       The facts giving rise to this action are set forth in Plaintiff’s Complaint filed with

25   this Court on October 31, 2023. In the late afternoon on November 2, 2020, Decedent Caleb Slay

26   (hereinafter “Decedent Caleb”) was parked out front of his home in Springfield, Missouri, when

27   two unmarked DEA vehicles pulled up and parked in front of his house. The two DEA Agents,

28   Anthony Gasperoni and John Stuart, were surveilling the area.

                                                PG. 2                     Case No.: 6:23-cv-03337-RK
       DECLARATION OF JULIA N. QUESADA IN SUPPORT OF PLAINTIFF’S SUGGESTIONS IN OPPOSITION TO
                                UNITED STATES’ MOTION TO SUBSTITUTE
                 Case 6:23-cv-03337-RK Document 32-1 Filed 03/14/24 Page 2 of 4
 1
             3.       As Decedent Caleb began walking up his driveway to the front door of his house,
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     Defendant Gasperoni ordered Decedent Caleb to stop, and Decedent Caleb complied.. Decedent
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     Caleb informed Defendant Gasperoni of his legal firearm, then slowly extended both hands out in
 4
     front of his body showing Defendant Gasperoni that he was not holding any weapon and did not
 5
     pose any threat.
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             4.       During this interaction, Defendant Gasperoni took hold of Decedent Caleb’s wrists
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     while Defendant Stuart approached from behind without any warning. Defendant Stuart grabbed
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     Caleb and one of the Defendant Agents, and Decedent Cale, fell to the ground. While the
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     Defendant Agent and Decedent Caleb were on the ground, Defendant Gasperoni deployed his taser
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     against Decedent Caleb’s neck. Defendant Gasperoni then took out his firearm and without
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     warning fired at least three bullets at Decedent Caleb, striking Decedent Caleb in the head twice.
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             5.       Springfield Police Officers were dispatched to the scene after reports of shots fired.
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     Springfield Police Department Sergeant, C. Nuccio (hereinafter “Defendant Nuccio”) was one of
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     the first officers on scene after the shooting.
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             6.       Defendant Nuccio approached Decedent Caleb who was visibly bleeding from the
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     head and severely injured. Defendant Nuccio made the determination that Decedent Caleb did not
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     have a pulse and did not require immediate medical attention. Consequently, Defendant Nuccio
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     prevented emergency medical responders from immediately rendering aid and life saving measures
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     to Decedent Caleb. Emergency medical personnel were permitted to tend to Decedent Caleb
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     several minutes later and, contrary to Defendant Nuccio’s initial determination, a low pulse was
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     found. Decedent Caleb succumbed to injuries and died in his front yard.
23
             7.       Attached hereto as Exhibit “A” is a true and correct copy of the transcript of
24
     Defendant Anthony Gasperoni’s Interview with Springfield Police Department.
25
             8.       Attached hereto as Exhibit “B” is a true and correct copy of the transcript of
26
     Defendant John Stuart’s Interview with Springfield Police Department.
27
     ///
28
     ///
                                                PG. 3                     Case No.: 6:23-cv-03337-RK
       DECLARATION OF JULIA N. QUESADA IN SUPPORT OF PLAINTIFF’S SUGGESTIONS IN OPPOSITION TO
                                UNITED STATES’ MOTION TO SUBSTITUTE
                  Case 6:23-cv-03337-RK Document 32-1 Filed 03/14/24 Page 3 of 4
 1

 2
          I declare under penalty of perjury that the foregoing is true and correct.
 3
          Executed on March 13, 2024, at Beverly Hills, California.
 4

 5
                                                 BURRIS NISENBAUM CURRY & LACY
 6
                                                        /s/ Julia N. Quesada
 7

 9                                                      Julia N. Quesada

10                                                      Attorney for Plaintiff,
                                                        Tina Richardson
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                                              PG. 4                     Case No.: 6:23-cv-03337-RK
     DECLARATION OF JULIA N. QUESADA IN SUPPORT OF PLAINTIFF’S SUGGESTIONS IN OPPOSITION TO
                              UNITED STATES’ MOTION TO SUBSTITUTE
            Case 6:23-cv-03337-RK Document 32-1 Filed 03/14/24 Page 4 of 4
